Case 4:14-cv-00142-AWA-LRL Document 131 Filed 07/05/17 Page 1 of 1 PageID# 1165




                               UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF VIRGINIA
  FERNANDO GALINDO                                                                                REBECCA BEACH SMITH
   CLERK OF COURT                                                                                      CHIEF JUDGE




                                                        July 5, 2017

 Clerk of Court
 Newport News Circuit Court
 2500 Washington Ave.
 Newport News, VA 23607


        Re:       Brinkman et al v. John Crane, Inc. et al, 4:14cv142
                  Circuit Court Case No. CL14-02757F-15


 Dear Clerk of Court:

                 Pursuant to 28 U.S.C. 1447(c), we enclose a certified copy of the docket sheet
 wherein it reflects an order granting the unopposed motion to remand to your court in the above-
 captioned case.

                                                                  Very truly yours,

                                                                  FERNANDO GALINDO, Clerk

                                                                  By: ______/s/__________________
                                                                             Deputy Clerk


 Enclosure

 cc: Counsel of Record




                                                   www.vaed.uscourts.gov
        ALEXANDRIA (703) 299-2100 ■ NEWPORT NEWS (757) 247-0784 ■ NORFOLK (757) 222-7205 ■ RICHMOND (804) 916-2200
